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                                                              1   STEPHEN J. ERIGERO (SBN 121616)
                                                                  TAHEREH MAHMOUDIAN (SBN 217120)
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                                                              6   Attorneys for Answering Defendants NAPOLI BERN RIPKA &
                                                                  ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES,
                                                              7   LLP; NAPOLI BERN RIPKA SHKOLNIK, LLP; NAPOLI, BERN, RIPKA,
                                                                  LLP; NAPOLI, KAISER, BERN, LLP
                                                              8
                                                                                            UNITED STATES DISTRICT COURT
                                                              9
Ropers Majeski Kohn & Bentley




                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                             10
                                                             11
                                A Professional Corporation




                                                                  MARC I. WILLICK, an individual,                  Case No. 2:15-cv-00652AB-E
                                                             12
                                                                                     Plaintiff,                    Honorable Andre Birotte, Jr.
                                       Los Angeles




                                                             13
                                                                  v.                                           DEFENDANT NAPOLI BERN
                                                             14                                                RIPKA & ASSOCIATES, LLP’S
                                                                  NAPOLI BERN RIPKA &                          ANSWER TO FIRST AMENDED
                                                             15   ASSOCIATES, LLP, a purported                 COMPLAINT
                                                                  limited liability partnership; NAPOLI
                                                             16   BERN RIPKA SHKOLNIK &
                                                                  ASSOCIATES, LLP, a purported
                                                             17   limited liability partnership; NAPOLI
                                                                  BERN RIPKA SHKOLNIK, LLP, a
                                                             18   purported limited liability partnership;
                                                                  NAPOLI BERN RIPKA, LLP, a
                                                             19   purported limited liability partnership;
                                                                  NAPOLI KAISER BERN, LLP, a
                                                             20   purported limited liability partnership;
                                                                  MARC J. BERN, an individual; PAUL
                                                             21   J. NAPOLI, an individual; NAPOLI
                                                                  BERN, LLP, a limited liability
                                                             22   partnership; NAPOLI, KAISER, BERN
                                                                  & ASSOCIATES, LLP, a limited
                                                             23   liability partnership; NAPOLI, BERN
                                                                  & ASSOCIATES, LLP, a limited
                                                             24   liability partnership; LAW OFFICES
                                                                  OF NAPOLI BERN RIPKA &
                                                             25   ASSOCIATES LLP, a limited liability
                                                                  partnership; LAW OFFICES OF
                                                             26   NAPOLI BERN RIPKA SHKOLNIK
                                                                  LLP, a limited liability partnership;
                                                             27   LAW OFFICES OF NAPOLI BERN
                                                                  RIPKA SHKOLNIK & ASSOCIATES
                                                             28   LLP, a limited liability partnership;
                                                                                                                               DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                           -1-             ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                          AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 2 of 21 Page ID #:796



                                                              1   PASTERNACK TILKER NAPOLI
                                                                  BERN, LLP a limited liability
                                                              2   partnership; NAPOLI SHKOLNIK
                                                                  PLLC, a professional limited liability
                                                              3   company; NAPOLI LAW PLLC, a
                                                                  professional limited liability company;
                                                              4   PAUL NAPOLI LAW PLLC, a
                                                                  professional limited liability company;
                                                              5   BERN RIPKA LLP, a limited liability
                                                                  partnership; MARC J. BERN &
                                                              6   PARTNERS, LLP, a limited liability
                                                                  partnership; NAPOLI & BERN, LLP, a
                                                              7   limited liability partnership; MARC J.
                                                                  BERN PLLC, a professional limited
                                                              8   liability company, NAPOLI, KAISER
                                                                  & ASSOCIATES, LLP, a limited
                                                              9   liability partnership; NAPOLI, BERN,
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                                                                  KRENTSEL & GUZMAN, LLP a
                                                             10   limited liability partnership; WORBY,
                                                                  GRONER, EDELMAN & NAPOLI
                                                             11   BERN, LLP, a limited liability
                                A Professional Corporation




                                                                  partnership, PAUL NAPOLI PLLC, a
                                                             12   professional limited liability company,
                                                                  and DOES 1 through 50,
                                       Los Angeles




                                                             13
                                                                                       Defendants.
                                                             14
                                                             15
                                                             16            COME NOW Answering Defendant NAPOLI BERN RIPKA &
                                                             17   ASSOCIATES, LLP (“Answering Defendant”), and for itself only, and answer
                                                             18   Plaintiff MARC I. WILLICK’s (“Plaintiff”) First Amended Complaint as follows:
                                                             19                                           ANSWER
                                                             20            1.        Answering paragraph 1 of the First Amended Complaint, Answering
                                                             21   Defendant admits that it removed the action originally filed in the Superior Court of
                                                             22   the State of California to the federal court.
                                                             23            2.        Answering paragraph 2 of the First Amended Complaint, Answering
                                                             24   Defendant admits that this Court has subject-matter jurisdiction over this action.
                                                             25   However, the arbitration provision of the agreements entered into between Plaintiff
                                                             26   and Napoli Bern Ripka & Associates requires arbitration of claims under the
                                                             27   American Arbitration Association rules. Except as expressly admitted, Answering
                                                             28   Defendant denies each and every allegation contained therein.
                                                                                                                            DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                           -2-          ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                      AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 3 of 21 Page ID #:797



                                                              1            3.        Answering paragraph 3 of the First Amended Complaint, Answering
                                                              2   Defendant lacks information or belief sufficient to either admit or deny the
                                                              3   allegations and, on that basis, denies each and every allegation contained therein.
                                                              4            4.        Answering paragraph 4 of the First Amended Complaint, Answering
                                                              5   Defendant lacks information or belief sufficient to either admit or deny the
                                                              6   allegations and, on that basis, denies each and every allegation contained therein.
                                                              7            5.        Answering paragraph 5 of the First Amended Complaint, Answering
                                                              8   Defendant admits that NAPOLI BERN RIPKA & ASSOCIATES, LLP, NAPOLI
                                                              9   BERN RIPKA SHKOLNIK & ASSOCIATES, LLP, NAPOLI BERN RIPKA
Ropers Majeski Kohn & Bentley




                                                             10   SFIKOLNIK, LLP, NAPOLI BERN RIPKA, LLP, and NAPOLI KAISER BERN,
                                                             11   LLP are limited liability partnerships. Except as expressly admitted and with
                                A Professional Corporation




                                                             12   regard to any and all remaining allegations in Paragraph 5, Answering Defendant
                                       Los Angeles




                                                             13   denies each and every allegation contained therein.
                                                             14            6.        Answering paragraph 6 of the First Amended Complaint, Answering
                                                             15   Defendant lacks information or belief sufficient to either admit or deny the
                                                             16   allegations and, on that basis, denies each and every allegation contained therein.
                                                             17            7.        Answering paragraph 7 of the First Amended Complaint, Answering
                                                             18   Defendant lacks information or belief sufficient to either admit or deny the
                                                             19   allegations and, on that basis, denies each and every allegation contained therein.
                                                             20            8.        Answering paragraph 8 of the First Amended Complaint, the
                                                             21   allegations contained herein are legal conclusions or recitations of law and do not
                                                             22   require a response. If facts are alleged, Answering Defendant lacks information or
                                                             23   belief sufficient to either admit or deny the allegations and, on that basis, denies
                                                             24   each and every allegation contained therein.
                                                             25            9.        Answering paragraph 9 (and subparagraphs a through p) of the First
                                                             26   Amended Complaint, the allegations contained therein are legal conclusions or
                                                             27   recitations of the law as alleged by Plaintiff, and as such, they do not require a
                                                             28   response. To the extent that a response may be required, Answering Defendant
                                                                                                                              DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                            -3-           ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                        AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 4 of 21 Page ID #:798



                                                              1   denies each and every allegation contained therein or lacks information or belief.
                                                              2            10.       Answering paragraph 10 of the First Amended Complaint, Answering
                                                              3   Defendant lacks information or belief sufficient to either admit or deny the
                                                              4   allegations and, on that basis, denies each and every allegation contained therein.
                                                              5            11.       Answering paragraph 11 of the First Amended Complaint, the
                                                              6   allegations contained therein are legal conclusions or recitations of the law as
                                                              7   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              8   a response may be required, Answering Defendant denies each and every allegation
                                                              9   contained therein.
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                                                             10            12.       Answering paragraph 12 of the First Amended Complaint, Answering
                                                             11   Defendant admits that on or about March 7, 2011, Defendant Napoli Bern Ripka &
                                A Professional Corporation




                                                             12   Associates, LLP entered into a written agreement with Plaintiff (“Agreement 1”), a
                                       Los Angeles




                                                             13   copy of which is attached as Exhibit 1 to Plaintiff's First Amended Complaint.
                                                             14   Answering Defendant alleges that Agreement 1 is the best evidence of what it
                                                             15   states. Except as expressly admitted and with regard to any and all remaining
                                                             16   allegations in Paragraph 12, Answering Defendant denies each and every allegation
                                                             17   contained therein.
                                                             18            13.       Answering paragraph 13 of the First Amended Complaint, Answering
                                                             19   Defendant admits that on or about May 20, 2011, Defendant Napoli Bern Ripka &
                                                             20   Associates, LLP entered into a written agreement with Plaintiff (“Agreement 2”), a
                                                             21   copy of which (with the exception of Exhibit C to Agreement 2) is attached as
                                                             22   Exhibit 2 to Plaintiff’s First Amended Complaint. Answering Defendant alleges
                                                             23   that Agreement 2 is the best evidence of what it states. Except as expressly
                                                             24   admitted and with regard to any and all remaining allegations in Paragraph 13,
                                                             25   Answering Defendant denies each and every allegation contained therein.
                                                             26            14.       Answering paragraph 14 of the First Amended Complaint, Answering
                                                             27   Defendant admits the allegations contained therein.
                                                             28            15.       Answering paragraph 15 of the First Amended Complaint, Answering
                                                                                                                            DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                           -4-          ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                      AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 5 of 21 Page ID #:799



                                                              1   Defendant re-alleges and incorporates by reference paragraphs 1 through 15 of this
                                                              2   Answer as set forth above.
                                                              3            16.       Answering paragraph 16 of the First Amended Complaint, the
                                                              4   allegations contained therein are legal conclusions or recitations of the law as
                                                              5   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              6   a response may be required, Answering Defendant denies each and every allegation
                                                              7   contained therein.
                                                              8            17.       Answering paragraph 17 of the First Amended Complaint, Answering
                                                              9   Defendant re-alleges and incorporates by reference paragraphs 1 through 16 of this
Ropers Majeski Kohn & Bentley




                                                             10   Answer as set forth above.
                                                             11            18.       Answering paragraph 18 of the First Amended Complaint, Answering
                                A Professional Corporation




                                                             12   Defendant denies each and every allegation contained therein. Further, paragraph
                                       Los Angeles




                                                             13   18 contains legal conclusions or recitations of the law as alleged by Plaintiff, and as
                                                             14   such, they do not require a response. To the extent that a response may be required,
                                                             15   Answering Defendant lacks information or belief sufficient to either admit or denies
                                                             16   the allegations and, on that basis, denies each and every allegation contained
                                                             17   therein.
                                                             18            19.       Answering paragraph 19 of the First Amended Complaint, Answering
                                                             19   Defendant alleges that Agreement 2 is the best evidence of what it states. Further,
                                                             20   paragraph 19 contains legal conclusions or recitations of the law as alleged by
                                                             21   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                             22   may be required, except as expressly admitted, Answering Defendant lacks
                                                             23   information or belief sufficient to either admit or deny the allegations and, on that
                                                             24   basis, denies each and every allegation contained therein.
                                                             25            20.       Answering paragraph 20 of the First Amended Complaint, Answering
                                                             26   Defendant alleges that Agreement 2 is the best evidence of what it states. Further,
                                                             27   paragraph 20 contains legal conclusions or recitations of the law as alleged by
                                                             28   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                                                                                            DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                           -5-          ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                      AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 6 of 21 Page ID #:800



                                                              1   may be required, except as expressly admitted, Answering Defendant lacks
                                                              2   information or belief sufficient to either admit or deny the allegations and, on that
                                                              3   basis, denies each and every allegation contained therein.
                                                              4            21.       Answering paragraph 21 of the First Amended Complaint, Answering
                                                              5   Defendant alleges that Agreement 2 is the best evidence of what it states. Further,
                                                              6   paragraph 21 contains legal conclusions or recitations of the law as alleged by
                                                              7   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                              8   may be required, except as expressly admitted, Answering Defendant lacks
                                                              9   information or belief sufficient to either admit or deny the allegations and, on that
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                                                             10   basis, denies each and every allegation contained therein.
                                                             11            22.       Answering paragraph 22of the First Amended Complaint, Answering
                                A Professional Corporation




                                                             12   Defendant alleges that Agreement 2 is the best evidence of what it states. Further,
                                       Los Angeles




                                                             13   paragraph 22 contains legal conclusions or recitations of the law as alleged by
                                                             14   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                             15   may be required, except as expressly admitted, Answering Defendant lack
                                                             16   information or belief sufficient to either admit or deny the allegations and, on that
                                                             17   basis, denies each and every allegation contained therein.
                                                             18            23.       Answering paragraph 23 of the First Amended Complaint, the
                                                             19   allegations contained therein are legal conclusions or recitations of the law as
                                                             20   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             21   a response may be required, Answering Defendant denies each and every allegation
                                                             22   contained therein.
                                                             23            24.       Answering paragraph 24 of the First Amended Complaint, the
                                                             24   allegations contained therein are legal conclusions or recitations of the law as
                                                             25   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             26   a response may be required, Answering Defendant denies each and every allegation
                                                             27   contained therein.
                                                             28            25.       Answering paragraph 25 of the First Amended Complaint, the
                                                                                                                            DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                           -6-          ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                      AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 7 of 21 Page ID #:801



                                                              1   allegations contained therein are legal conclusions or recitations of the law as
                                                              2   alleged by Plaintiff, and as such, they do not require a response. To the extent a
                                                              3   response may be required, Answering Defendant denies each and every allegation
                                                              4   contained therein.
                                                              5            26.       Answering paragraph 26 of the First Amended Complaint, Answering
                                                              6   Defendant re-allege and incorporate by reference paragraphs 1 through 25 of this
                                                              7   Answer as set forth above.
                                                              8            27.       Answering paragraph 27 of the First Amended Complaint, the
                                                              9   allegations contained therein are legal conclusions or recitations of the law as
Ropers Majeski Kohn & Bentley




                                                             10   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             11   a response may be required, Answering Defendant denies each and every allegation
                                A Professional Corporation




                                                             12   contained therein.
                                       Los Angeles




                                                             13            28.       Answering paragraph 28 of the First Amended Complaint, the
                                                             14   allegations contained therein are legal conclusions or recitations of the law as
                                                             15   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             16   a response may be required, Answering Defendant denies each and every allegation
                                                             17   contained therein.
                                                             18            29.       Answering paragraph 29 of the First Amended Complaint, Answering
                                                             19   Defendant denies each and every allegation contained therein.
                                                             20            30.       Answering paragraph 30 of the First Amended Complaint, the
                                                             21   allegations contained therein are legal conclusions or recitations of the law as
                                                             22   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             23   a response may be required, Answering Defendant denies each and every allegation
                                                             24   contained therein.
                                                             25            31.       Answering paragraph 31 of the First Amended Complaint, the
                                                             26   allegations contained therein are legal conclusions or recitations of the law as
                                                             27   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             28   a response may be required, Answering Defendant denies each and every allegation
                                                                                                                            DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                           -7-          ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                      AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 8 of 21 Page ID #:802



                                                              1   contained therein.
                                                              2            32.       Answering paragraph 32 of the First Amended Complaint, the
                                                              3   allegations contained therein are legal conclusions or recitations of the law as
                                                              4   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              5   a response may be required, Answering Defendant denies each and every allegation
                                                              6   contained therein.
                                                              7            33.       Answering paragraph 33 of the First Amended Complaint, Answering
                                                              8   Defendant re-alleges and incorporates by reference paragraphs 1 through 32 of this
                                                              9   Answer as set forth above.
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                                                             10            34.       Answering paragraph 34 of the First Amended Complaint, Answering
                                                             11   Defendant denies each and every allegation contained therein.
                                A Professional Corporation




                                                             12            35.       Answering paragraph 35 of the First Amended Complaint, the
                                       Los Angeles




                                                             13   allegations contained therein are legal conclusions or recitations of the law as
                                                             14   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             15   a response may be required, Answering Defendant denies each and every allegation
                                                             16   contained therein.
                                                             17            36.       Answering paragraph 36 of the First Amended Complaint, Answering
                                                             18   Defendant re-alleges and incorporates by reference paragraphs 1 through 35 of this
                                                             19   Answer as set forth above.
                                                             20            37.       Answering paragraph 37 of the First Amended Complaint, the
                                                             21   allegations contained therein are legal conclusions or recitations of the law as
                                                             22   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             23   a response may be required, Answering Defendant denies each and every allegation
                                                             24   contained therein.
                                                             25            38.       Answering paragraph 38 of the First Amended Complaint, the
                                                             26   allegations contained therein are legal conclusions or recitations of the law as
                                                             27   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             28   a response may be required, Answering Defendant denies each and every allegation
                                                                                                                            DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                           -8-          ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                      AMENDED COMPLAINT
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                                                              1   contained therein.
                                                              2            39.       Answering paragraph 39 of the First Amended Complaint, the
                                                              3   allegations contained therein are legal conclusions or recitations of the law as
                                                              4   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              5   a response may be required, Answering Defendant denies each and every allegation
                                                              6   contained therein.
                                                              7            40.       Answering paragraph 40 of the First Amended Complaint, at this time
                                                              8   Answering Defendant lacks information or belief sufficient to either admit or deny
                                                              9   the allegations and, on that basis, denies each and every allegation contained
Ropers Majeski Kohn & Bentley




                                                             10   therein.
                                                             11            41.       Answering paragraph 41 of the First Amended Complaint, at this time
                                A Professional Corporation




                                                             12   Answering Defendant lacks information or belief sufficient to either admit or deny
                                       Los Angeles




                                                             13   the allegations and on that basis, deny each and every allegation contained therein.
                                                             14            42.       Answering paragraph 42 of the First Amended Complaint, at this time
                                                             15   Answering Defendant lacks information or belief sufficient to either admit or deny
                                                             16   the allegations and, on that basis, denies each and every allegation contained
                                                             17   therein.
                                                             18            43.       Answering paragraph 43 of the First Amended Complaint, at this time
                                                             19   Answering Defendant lacks information or belief sufficient to either admit or deny
                                                             20   the allegations and, on that basis, denies each and every allegation contained
                                                             21   therein.
                                                             22            44.       Answering paragraph 44 of the First Amended Complaint, at this time
                                                             23   Answering Defendant lacks information or belief sufficient to either admit or deny
                                                             24   the allegations and, on that basis, denies each and every allegation contained
                                                             25   therein.
                                                             26            45.       Answering paragraph 45 of the First Amended Complaint, the
                                                             27   allegations contained therein are legal conclusions or recitations of the law as
                                                             28   alleged by Plaintiff, and as such, they do not require a response. To the extent a
                                                                                                                             DEFENDANT NAPOLI BERN RIPKA &
                                                                  4832-4507-6066.1                            -9-          ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                       AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 10 of 21 Page ID #:804



                                                               1   response may be required, Answering Defendant denies each and every a1legation
                                                               2   contained therein.
                                                               3            Prayer: In response to Plaintiff’s Prayer for Relief contained in his First
                                                               4   Amended Complaint, Answering Defendant denies that Plaintiff is entitled to any
                                                               5   type of relief requested, including but not limited to compensatory damages,
                                                               6   punitive damages, restitution, injunctive relief, or costs and expenses of this action,
                                                               7   or any relief whatsoever.
                                                               8                                   AFFIRMATIVE DEFENSES
                                                               9            Answering Defendant further asserts the following affirmative defenses. By
Ropers Majeski Kohn & Bentley




                                                             10    asserting these defenses, Answering Defendant does not concede that it has the
                                                             11    burden of production or proof as to any affirmative defense asserted below.
                                A Professional Corporation




                                                             12    Further, Answering Defendant does not presently know all of the facts concerning
                                       Los Angeles




                                                             13    the conduct of Plaintiff sufficient to state all affirmative defenses at this time.
                                                             14    Answering Defendant is informed and believes that a reasonable opportunity for
                                                             15    investigation and discovery will reveal facts in support of the following affirmative
                                                             16    defenses.
                                                             17                                FIRST AFFIRMATIVE DEF'ENSE
                                                             18                                      (Failure to State a Claim)
                                                             19             1.        As a separate and distinct affirmative defense to the First Amended
                                                             20    Complaint, Answering Defendant alleges that the First Amended Complaint fails to
                                                             21    state facts sufficient to constitute a claim upon which relief may be granted.
                                                             22                                  SECOND AFFIRMATIVE DEFENSE
                                                             23                       (Lack of Subject Matter Jurisdiction - Binding Arbitration)
                                                             24             2.        As a separate and distinct affirmative defense to the First Amended
                                                             25    Complaint, Answering Defendant alleges that the Court lacks subject matter
                                                             26    jurisdiction over the First Amended Complaint and each cause of action therein, or
                                                             27    some of them, to the extent that Plaintiff is subject to an agreement requiring him to
                                                             28    submit his claims against Defendant Napoli Bern Ripka & Associates to binding
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 10 -         ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                          AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 69 Filed 04/16/18 Page 11 of 21 Page ID #:805



                                                               1   arbitration under American Arbitration Association rules.
                                                               2                               THIRD AFFIRMATIVE DEFENSE
                                                               3                                       (Equitable Doctrines)
                                                               4            3.        As a separate and distinct affirmative defense to the First Amended
                                                               5   Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                               6   each claim set forth therein, or some of them, are barred by the equitable doctrines
                                                               7   of unclean hands, estoppel, laches, and unjust enrichment.
                                                               8                              FOURTH AFFIRMATIVE DEFENSE
                                                               9                                             (Consent)
Ropers Majeski Kohn & Bentley




                                                             10             4.        As a separate and distinct affirmative defense to the First Amended
                                                             11    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                A Professional Corporation




                                                             12    each claim set forth therein against Answering Defendant are barred by the doctrine
                                       Los Angeles




                                                             13    of consent.
                                                             14                                 FIFTH AFFIRMATIVE DEFENSE
                                                             15                                      (Accord and Satisfaction)
                                                             16             5.        As a separate and distinct affirmative defense to the First Amended
                                                             17    Complaint, Answering Defendant alleges that that any monies owed to Plaintiff
                                                             18    have been paid in full and any obligations they may have owed to Plaintiff have
                                                             19    been paid or otherwise satisfied in full.
                                                             20                                SIXTH AFFIRMATIVE DEFENSE
                                                             21                   (Contract Too Vague, Uncertain, Indefinite to be Enforced)
                                                             22             6.        As a separate and distinct affirmative defense to the First Amended
                                                             23    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                             24    any claim for breach of contract is barred, in whole or in part, because the purported
                                                             25    contract and/or agreement upon which the claim is based is too vague, uncertain,
                                                             26    and indefinite to be enforced.
                                                             27                              SEVENTH AFFIRMATIVE DEFENSE
                                                             28                          (Answering Defendants Fully Performed Duties)
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 11 -         ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                          AMENDED COMPLAINT
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                                                               1            7.        As a separate and distinct affirmative defense to the First Amended
                                                               2   Complaint, Answering Defendant alleges that to the extent that any agreements,
                                                               3   promises and/or covenants were made by Answering Defendant (and Answering
                                                               4   Defendant denies that any was made), Answering Defendant fully performed its
                                                               5   duties under any and all agreements between it and Plaintiff, and/or factors
                                                               6   extraneous to the alleged contract(s) made performance impossible and, therefore,
                                                               7   Answering Defendant did not breach or intend to breach any contract(s) between
                                                               8   Plaintiff and Answering Defendant.
                                                               9                              EIGHTH AFFIRMATIVE DEFENSE
Ropers Majeski Kohn & Bentley




                                                             10                                  (Lack of Mutuality of Agreement)
                                                             11             8.        As a separate and distinct affirmative defense to the First Amended
                                A Professional Corporation




                                                             12    Complaint, Answering Defendant alleges that any purported contract is
                                       Los Angeles




                                                             13    unenforceable for lack of mutuality of agreement.
                                                             14                                NINTH AFFIRMATIVE DEFENSE
                                                             15                                            (Impossibility)
                                                             16             9.        As a separate and distinct affirmative defense to the First Amended
                                                             17    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                             18    each cause of action set forth therein, or some of them, are barred because any
                                                             19    failure of performance, if any such failure occurred, was the result of impossibility
                                                             20    of performance, and not the result of a violation of the law.
                                                             21                                TENTH AFFIRMATIVE DEFENSE
                                                             22                                       (Performance Excused)
                                                             23             10.       As a separate and distinct affirmative defense to the First Amended
                                                             24    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                             25    each cause of action set forth therein, or some of them, are barred because
                                                             26    Answering Defendant’s obligations, if any, have been extinguished pursuant to
                                                             27    section 1495 of the Civil Code because Plaintiff was not able or willing to perform
                                                             28    according to any offer by Answering Defendant under the alleged contract, if any.
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 12 -         ASSOCIATES, LLP’S ANSWER TO FIRST
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                                                               1                            ELEVENTH AFFIRMATIVE DEFENSE
                                                               2                                           (Reformation)
                                                               3            11.       As a separate and distinct affirmative defense to the First Amended
                                                               4   Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                               5   each cause of action set forth therein, or some of them, are barred due to
                                                               6   reformation.
                                                               7                             TWELFTH AFFIRMATIVE DEFENSE
                                                               8                                           (Modification)
                                                               9            12.       As a separate and distinct affirmative defense to the First Amended
Ropers Majeski Kohn & Bentley




                                                             10    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                             11    each cause of action set forth therein, or some of them, are barred because of
                                A Professional Corporation




                                                             12    modification of the alleged contract by written or oral agreement.
                                       Los Angeles




                                                             13                            THIRTEENTH AFFIRMATIVE DEFENSE
                                                             14                                             (Rescission)
                                                             15             13.       As a separate and distinct affirmative defense to the First Amended
                                                             16    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                             17    each cause of action set forth therein, or some of them, are barred due to rescission.
                                                             18                            FOURTEENTH AFFIRMATIVE DEFENSE
                                                             19                                        (Mistake of Fact/Law)
                                                             20             14.       As a separate and distinct affirmative defense to the First Amended
                                                             21    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                             22    each cause of action set forth therein, or some of them, are barred because, without
                                                             23    admitting that any contract has been formed, of the parties’ mistake of fact and/or
                                                             24    law in connection with the formation of any contract.
                                                             25                             FIFTEENTH AFFIRMATIVE DEFENSE
                                                             26                       (Plaintiff’s Breaches of Good Faith and Fair Dealing)
                                                             27             15.       As a separate and distinct affirmative defense to the First Amended
                                                             28    Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 13 -         ASSOCIATES, LLP’S ANSWER TO FIRST
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                                                               1   each cause of action set forth therein, or some of them, are barred because any
                                                               2   breaches of the alleged contract, which Answering Defendant deny, were excused
                                                               3   by Plaintiff’s prior material breaches of the covenant of good faith and fair dealing.
                                                               4                               SIXTEENTH AFFIRMATIVE DEFENSE
                                                               5                                     (Performance Frustrated)
                                                               6            16.       As a separate and distinct affirmative defense to the First Amended
                                                               7   Complaint, Answering Defendant alleges that the First Amended Complaint and
                                                               8   each cause of action set forth therein, or some of them, are barred because
                                                               9   Answering Defendant’s obligations, if any, have been extinguished pursuant to
Ropers Majeski Kohn & Bentley




                                                             10    section 1495 of the Civil Code because Plaintiff prevented or frustrated Answering
                                                             11    Defendant’s performance under the alleged contract.
                                A Professional Corporation




                                                             12                           SEVENTEENTH AFFIRMATIVE DEFENSE
                                       Los Angeles




                                                             13                                  (Failure to Plead with Specificity)
                                                             14             17.       As a separate and distinct affirmative defense to the First Amended
                                                             15    Complaint, Answering Defendant alleges that Plaintiff’s fraud claim is barred
                                                             16    because the pleading is vague and uncertain, is not pled with particularity, fails to
                                                             17    properly plead any damages resulting from the alleged fraud, and fails to
                                                             18    demonstrate the specificity required for pleading of intentional torts.
                                                             19                            EIGHTEENTH AFFIRMATIVE DEFENSE
                                                             20                                      (No Reasonable Reliance)
                                                             21             18.       As a separate and distinct affirmative defense to the First Amended
                                                             22    Complaint, Answering Defendant alleges that Plaintiff did not reasonably rely upon
                                                             23    any allegedly fraudulent statements or any promises or other statements allegedly
                                                             24    made by Answering Defendant.
                                                             25                            NINETEENTH AFFIRMATIVE DEFENSE
                                                             26                                      (No Detrimental Reliance)
                                                             27             19.       As a separate and distinct affirmative defense to the First Amended
                                                             28    Complaint, Answering Defendant alleges that Plaintiff did not substantially change
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 14 -         ASSOCIATES, LLP’S ANSWER TO FIRST
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                                                               1   his position to his detriment in reliance upon any promises allegedly made to
                                                               2   Plaintiff by Answering Defendant.
                                                               3                            TWENTIETH AFFIRMATIVE DEFENSE
                                                               4                      (Alleged Representations Were True, Not Knowingly
                                                               5                       False, Opinion, and Based On Reasonable Ground)
                                                               6             20.      Answering Defendant alleges that Answering Defendant's alleged
                                                               7   representations were true, or not knowingly false when made, or were merely
                                                               8   statements of opinion, or Answering Defendant had a reasonable ground for such
                                                               9   belief.
Ropers Majeski Kohn & Bentley




                                                             10                           TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                             11                            (Uncertainty of Alleged Misrepresentations)
                                A Professional Corporation




                                                             12              21.      As a separate and distinct affirmative defense to the First Amended
                                       Los Angeles




                                                             13    Complaint, Answering Defendant alleges that Plaintiff’s misrepresentation claims
                                                             14    are unenforceable because the alleged misrepresentations by Answering Defendant
                                                             15    were too uncertain and indefinite to be enforced.
                                                             16                         TWENTY-SECOND AFFIRMATIVE DEFENSE
                                                             17                                           (Breach of Duty)
                                                             18              22.      As a separate and distinct affirmative defense to the First Amended
                                                             19    Complaint, Answering Defendant are informed and believes that a reasonable
                                                             20    opportunity for investigation and discovery will reveal and, on that basis, allege
                                                             21    Plaintiff’s claims are barred by his own breach of the duties owed to Answering
                                                             22    Defendant under California Labor Code sections 2854, 2856, 2857, 2858 and/or
                                                             23    2859.
                                                             24                          TWENTY-THIRD AFFIRMATIVE DEFENSE
                                                             25                                     (After-Acquired Evidence)
                                                             26              23.      As a separate and distinct affirmative defense to the First Amended
                                                             27    Complaint, Answering Defendant alleges that, to the extent during the course of
                                                             28    this litigation Answering Defendant acquire any evidence of wrongdoing of
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 15 -         ASSOCIATES, LLP’S ANSWER TO FIRST
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                                                               1   Plaintiff, which wrongdoing would have materially affected the terms and
                                                               2   conditions of Plaintiff’s employment, or would have resulted in Plaintiff being
                                                               3   either demoted, disciplined, or terminated, such after-acquired evidence shall bar
                                                               4   Plaintiff’s claim on liability or damages and shall reduce such claim as provided by
                                                               5   law.
                                                               6                        TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                                               7                                      (Statute of Limitations)
                                                               8             24.      Answering Defendant alleges that each purported cause of action set
                                                               9   forth in the First Amended Complaint is barred in whole or in part by the applicable
Ropers Majeski Kohn & Bentley




                                                             10    statute(s) of limitation, including without limitation, the four-year limitations period
                                                             11    contained in California Code of Civil Procedure section 337, the three-year
                                A Professional Corporation




                                                             12    limitations period contained in California Code of Civil Procedure section 338(d);
                                       Los Angeles




                                                             13    the four-year limitations period contained in California Code of Civil Procedure
                                                             14    section 343; and/or the four year limitations period contained in Business and
                                                             15    Professions Code section 17208.
                                                             16                          TWENTY-FIFTH AFFIRMAT IVE DEFENSE
                                                             17                                       (No Vicarious Liability)
                                                             18             25.       As a separate and distinct affirmative defense to the First Amended
                                                             19    Complaint, Answering Defendant alleges that it is not vicariously liable for any act
                                                             20    or omission of any other person, by way of respondeat superior, agency, or
                                                             21    otherwise.
                                                             22                           TWENTY-SIXTH AFFIRMATIVE DEFENSE
                                                             23                           (Comparative Fault/Contributory Negligence)
                                                             24             26.       As a separate and distinct affirmative defense to the First Amended
                                                             25    Complaint, Answering Defendant alleges that Plaintiff failed to exercise reasonable
                                                             26    and ordinary care, caution and/or prudence and the alleged injuries and damages, if
                                                             27    any were suffered, were proximately caused and/or contributed to by Plaintiff's own
                                                             28    negligent and/or intentional conduct and any recovery to which Plaintiff might be
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 16 -         ASSOCIATES, LLP’S ANSWER TO FIRST
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                                                               1   entitled must be reduced by reason of Plaintiff’s contributory fault and/or
                                                               2   comparative negligence.
                                                               3                       TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                                               4                              (Doctrine of Avoidable Consequences)
                                                               5            27.       As a separate and distinct affirmative defense to the First Amended
                                                               6   Complaint, Answering Defendant alleges that Plaintiff’s causes of action, and each
                                                               7   of them, are barred, in whole or in part, by the doctrine of avoidable consequences.
                                                               8                        TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                                               9                                        (Failure to Mitigate)
Ropers Majeski Kohn & Bentley




                                                             10             28.       As a separate and distinct affirmative defense, Answering Defendant is
                                                             11    informed and believes that further investigation and discovery will reveal, and on
                                A Professional Corporation




                                                             12    that basis allege that, without admitting that Plaintiff is entitled to any recovery,
                                       Los Angeles




                                                             13    Plaintiff has failed to take reasonable steps to mitigate his alleged damages.
                                                             14                          TWENTY-NINTH AFFIRMATIVE DEFENSE
                                                             15                                        (Set Off and/or Offset)
                                                             16             29.       As a separate and distinct affirmative defense to the First Amended
                                                             17    Complaint, Answering Defendant contend that Plaintiff is not entitled to recover
                                                             18    anything in this action, and were Plaintiff to obtain any monetary relief, any such
                                                             19    recovery must be offset and/or set off by all damages and losses proximately caused
                                                             20    by Plaintiff’s conduct.
                                                             21                             THIRTIETH AFFIRMATIVE DEFENSE
                                                             22                                (Punitive Damages Unconstitutional)
                                                             23             30.       As a separate and distinct affirmative defense to the First Amended
                                                             24    Complaint, Answering Defendant alleges that Plaintiff is not entitled to recover any
                                                             25    punitive damages because the imposition of such damages constitutes a violation of
                                                             26    Answering Defendant's rights under the United States and/or California
                                                             27    Constitutions, including but not limited to, Answering Defendant’s rights to due
                                                             28    process and/or equal protection under the law, and their right to protection from
                                                                                                                                  DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 17 -           ASSOCIATES, LLP’S ANSWER TO FIRST
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                                                               1   “excessive fines.”
                                                               2                          THIRTY-FIRST AFFIRMATIVE DEFENSE
                                                               3                                      (No Alter Ego Liability)
                                                               4            31.       As a separate and distinct affirmative defense to the First Amended
                                                               5   Complaint, Answering Defendant alleges that Plaintiff’s claims are barred, in whole
                                                               6   or in part, because Answering Defendant is not the alter ego of any other defendant
                                                               7   or entity.
                                                               8                         THIRTY-SECOND AFFIRMATIVE DEFENSE
                                                               9                                 (Estoppel on Alter Ego Liability)
Ropers Majeski Kohn & Bentley




                                                             10             32.       As a separate and distinct affirmative defense to the First Amended
                                                             11    Complaint, Answering Defendant alleges that Plaintiff is estopped from relying on
                                A Professional Corporation




                                                             12    the equitable alter ego doctrine because Plaintiff at all times knew and agreed that
                                       Los Angeles




                                                             13    Defendants NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP;
                                                             14    NAPOLI BERN RIPKA SHKOLNIK, LLP; NAPOLI, BERN RIPKA, LLP;
                                                             15    NAPOLI, KAISER, BERN, LLP (the Entity Defendants) were entities separate
                                                             16    from Answering Defendant.
                                                             17                            ADDITIONAL AFFIRMATIVE DEFENSES
                                                             18             Answering Defendant states that they do not presently know all facts
                                                             19    concerning Plaintiff’s claims sufficient to state all affirmative defenses at this time.
                                                             20    Answering Defendant will seek leave of this Court to amend this Answer should
                                                             21    they later discover facts demonstrating the existence of additional affirmative
                                                             22    defenses.
                                                             23                                       PRAYER FOR RELIEF
                                                             24             WHEREFORE, Answering Defendant prays for relief as follows:
                                                             25             1.        That Plaintiff takes nothing and that the First Amended Complaint be
                                                             26    dismissed in its entirety with prejudice;
                                                             27             2.        That judgment be entered in Answering Defendant’s favor;
                                                             28             3.        That Answering Defendant be awarded its attorney’s fees and costs of
                                                                                                                                DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                            - 18 -         ASSOCIATES, LLP’S ANSWER TO FIRST
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                                                               1   suit herein, to the extent permitted under applicable law; and
                                                               2            4.        That Answering Defendant be awarded such other, further relief as the
                                                               3   Court deems just and proper.
                                                               4
                                                               5   Dated: April 16, 2018                         ROPERS, MAJESKI, KOHN &
                                                                                                                 BENTLEY
                                                               6
                                                               7
                                                                                                                 By: :/s/ Stephen J. Erigero
                                                               8                                                    STEPHEN J. ERIGERO
                                                                                                                    TAHEREH MAHMOUDIAN
                                                               9                                                    Attorneys for Answering Defendants
Ropers Majeski Kohn & Bentley




                                                                                                                    NAPOLI BERN RIPKA &
                                                             10                                                     ASSOCIATES, LLP; NAPOLI
                                                                                                                    BERN RIPKA SHKOLNIK &
                                                             11                                                     ASSOCIATES, LLP; NAPOLI
                                A Professional Corporation




                                                                                                                    BERN RIPKA SHKOLNIK, LLP;
                                                             12                                                     NAPOLI, BERN, RIPKA, LLP;
                                       Los Angeles




                                                                                                                    NAPOLI, KAISER, BERN, LLP
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                                                                                                                               DEFENDANT NAPOLI BERN RIPKA &
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                                                               1   CASE NAME:           WILLICK v. NAPOLI BERN RIPKA & ASSOCIATES, et al.

                                                               2   ACTION NO.:          2:15cv652

                                                               3
                                                                                                    CERTIFICATE OF SERVICE
                                                               4
                                                                   The undersigned certifies that the foregoing document:
                                                               5
                                                                      DEFENDANT NAPOLI BERN RIPKA & ASSOCIATES, LLP’S ANSWER TO FIRST
                                                               6                          AMENDED COMPLAINT

                                                               7   was filed with the Court’s ECF system, which, in turn, served a true and accurate
                                                                   copy on the following listed counsel:
                                                               8
                                                                                     Electronically Serviced Through ECF to:
                                                               9
Ropers Majeski Kohn & Bentley




                                                             10    James Lewis Goldman, Esq.                             Attorneys for Plaintiff Marc I.
                                                                   MILLER BARONDESS, LLP                                 Willick, an individual
                                                             11    1999 Avenue of the Stars, Suite 1000
                                A Professional Corporation




                                                             12    Los Angeles, CA 90067
                                                                   Email: Jgoldman@millerbarondess.com
                                       Los Angeles




                                                             13    Phone: (310) 552-4400
                                                                   Fax: (310) 552-8400
                                                             14
                                                                   Kelly Drew Folger, Esq.                               Attorneys for Defendant Marc J.
                                                             15    ANDREWS LAGASSE BRANCH AND BELL LLP                   Bern, an individual
                                                             16    4365 Executive Drive, Suite 950
                                                                   San Diego, CA 92121
                                                             17    Email: Kfolger@albblaw.com
                                                                   Phone: (858) 461-6606
                                                             18    Fax: (858) 461-6608
                                                             19    Traci S. Lagasse, Esq.
                                                             20    ANDREWS LAGASSE BRANCH AND BELL LLP
                                                                   4365 Executive Drive, Suite 950
                                                             21    San Diego, CA 92121
                                                                   Email: Tlagasse@albblaw.com
                                                             22    Phone: (858) 345-5080
                                                                   Fax: (858) 345-5025
                                                             23
                                                             24    Todd E. Croutch, Esq.                                 Attorneys for Defendant Paul J.
                                                                   FRASER WATSON AND CROUTCH                             Napoli, an individual
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                                                                   Glendale, CA 91210
                                                             26    Email: Tcroutch@fwcllp.com
                                                                   Phone: (818) 543-1380
                                                             27
                                                                   Fax: (818) 543-1389
                                                             28
                                                                                                                            DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                          - 20 -       ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                      AMENDED COMPLAINT
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                                                               1          I declare under penalty of perjury under the laws of the State of California
                                                               2   that the foregoing is true and correct.

                                                               3
                                                                   Dated: April 16, 2018                   /s/ Kimberly Cederquist
                                                               4                                            Kim Cederquist
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Ropers Majeski Kohn & Bentley




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                                A Professional Corporation




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                                                                                                                           DEFENDANT NAPOLI BERN RIPKA &
                                                                   4832-4507-6066.1                        - 21 -        ASSOCIATES, LLP’S ANSWER TO FIRST
                                                                                                                                     AMENDED COMPLAINT
